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                                                              APPEAL,CLOSED,CONSOL,TYPE−C
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:18−cv−02841−RMC

AMERICAN HOSPITAL ASSOCIATION et al v. AZAR                Date Filed: 12/04/2018
Assigned to: Judge Rosemary M. Collyer                     Date Terminated: 10/23/2019
Cause: 28:1331 Fed. Question: Review Agency Decision       Jury Demand: None
                                                           Nature of Suit: 151 Contract: Recovery
                                                           Medicare
                                                           Jurisdiction: U.S. Government Defendant
Plaintiff
AMERICAN HOSPITAL                             represented by Catherine Emily Stetson
ASSOCIATION                                                  HOGAN LOVELLS US LLP
                                                             555 Thirteenth Street, NW
                                                             Washington, DC 20004
                                                             (202) 637−5491
                                                             Fax: (202) 637−5910
                                                             Email: cate.stetson@hoganlovells.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Susan Margaret Cook
                                                            HOGAN LOVELLS US LLP
                                                            555 Thirteenth Street, NW
                                                            Washington, DC 20004
                                                            (202) 637−6684
                                                            Fax: (202) 637−5910
                                                            Email: susan.cook@hoganlovells.com
                                                            ATTORNEY TO BE NOTICED

Plaintiff
ASSOCIATION OF AMERICAN                       represented by Catherine Emily Stetson
MEDICAL COLLEGES                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Susan Margaret Cook
                                                            (See above for address)

Plaintiff
MERCY HEALTH MUSKEGON                         represented by Catherine Emily Stetson
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Susan Margaret Cook
                                                            (See above for address)

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Plaintiff
CLALLAM COUNTY PUBLIC                     represented by Catherine Emily Stetson
HOSPITAL NO. 2                                           (See above for address)
agent of                                                 LEAD ATTORNEY
OLYMPIC MEDICAL CENTER                                   ATTORNEY TO BE NOTICED

                                                        Susan Margaret Cook
                                                        (See above for address)

Plaintiff
YORK HOSPITAL                             represented by Catherine Emily Stetson
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Susan Margaret Cook
                                                        (See above for address)

Plaintiff
UNIVERSITY OF KANSAS                      represented by Joel L. McElvain
HOSPITAL AUTHORITY                                       KING & SPALDING LLP
in CA 19−132                                             1700 Pennsylvania Avenue, NW
                                                         Suite 200
                                                         Washington, DC 20006
                                                         (202) 626−2929
                                                         Fax: (202) 626−3737
                                                         Email: jmcelvain@kslaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Mark D. Polston
                                                        KING & SPALDING LLP
                                                        1700 Pennsylvania Avenue, NW
                                                        Suite 200
                                                        Washington, DC 20006
                                                        (202) 626−5540
                                                        Fax: (202) 626−3737
                                                        Email: mpolston@kslaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
COLUMBUS REGIONAL                         represented by Joel L. McElvain
HEALTHCARE SYSTEM                                        (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Mark D. Polston
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                                                        2
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                                                         ATTORNEY TO BE NOTICED

Plaintiff
COPLEY MEMORIAL HOSPITAL,                 represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
RUSH COPLEY MEDICAL CENTER
                                                         Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
EAST BATON ROUGE MEDICAL                  represented by Joel L. McElvain
CENTER, LLC                                              (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
OCHNER MEDICAL CENTER −
BATON ROUGE                                              Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
FAYETTE COMMUNITY HOSPITAL,               represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
PIEDMONT FAYETTE HOSPITAL,
INC.                                                     Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
FLORIDA HEALTH SCIENCES                   represented by Joel L. McElvain
CENTER INC.                                              (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
TAMPA GENERAL HOSPITAL
                                                         Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
MONTEFIORE HEALTH SYSTEM,                 represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                                                   3
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doing business as                                     ATTORNEY TO BE NOTICED
MONTEFIORE MEDICAL CENTER
doing business as                                     Mark D. Polston
ST. LUKE'S CORNWALL HOSPITAL                          (See above for address)
doing business as                                     LEAD ATTORNEY
WHITE PLAINS HOSPITAL                                 ATTORNEY TO BE NOTICED

Plaintiff
MONTEFIORE HEALTH SYSTEM,                 represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
MONTEFIORE HEALTH SYSTEM,                 represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
NORTHWEST MEDICAL CENTER                  represented by Joel L. McElvain
in CA 19−132                                             (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
OCHSNER CLINIC FOUNDATION                 represented by Joel L. McElvain
in CA 19−132                                             (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

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Plaintiff
OSF HEALTHCARE SYSTEM                     represented by Joel L. McElvain
in CA 19−132                                             (See above for address)
doing business as                                        LEAD ATTORNEY
OSF HEART OF MARY MEDICAL                                ATTORNEY TO BE NOTICED
CENTER
doing business as                                     Mark D. Polston
OSF SACRED HEART MEDICAL                              (See above for address)
CENTER                                                LEAD ATTORNEY
doing business as                                     ATTORNEY TO BE NOTICED
OTTAWA REGIONAL HOSPITAL &
HEALTHCARE CENTER
doing business as
OSF SAINT ELIZABETH MEDICAL
CENTER
doing business as
SAINT ANTHONY MEDICAL CENTER
doing business as
SAINT ANTHONY'S HEALTH CENTER
doing business as
ST. JOSEPH MEDICAL CENTER

Plaintiff
PIEDMONT ATHENS REGIONAL                  represented by Joel L. McElvain
MEDICAL CENTER, INC.                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
PIEDMONT HOSPITAL, INC.                   represented by Joel L. McElvain
in CA 19−132                                             (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
PIEDMONT MOUNTAINSIDE                     represented by Joel L. McElvain
HOSPITAL, INC.                                           (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

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                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
PIEDMONT NEWNAN HOSPITAL,                 represented by Joel L. McElvain
INC.                                                     (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
RUSH OAK PARK HOSPITAL, INC.              represented by Joel L. McElvain
in 19−132                                                (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
RUSH UNIVERSITY MEDICAL                   represented by Joel L. McElvain
CENTER                                                   (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
SARASOTA MEMORIAL HOSPITAL                represented by Joel L. McElvain
in CA 19−132                                             (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Mark D. Polston
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff

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CHARLOTTE−MECKLENBURG                     represented by Joel L. McElvain
HOSPITAL AUTHORITY                                       (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
ATRIUM HEALTH ANSON
doing business as                                        Mark D. Polston
ATRIUM HEALTH CLEVELAND                                  (See above for address)
doing business as                                        LEAD ATTORNEY
ATRIUM HEALTH KINGS MOUNTAIN                             ATTORNEY TO BE NOTICED
doing business as
ATRIUM HEALTH LINCOLN
doing business as
ATRIUM HEALTH PINEVILLE
doing business as
ATRIUM HEALTH UNION
doing business as
ATRIUM HEALTH UNIVERSITY CITY
doing business as
CAROLINA HEALTHCARE SYSTEM
STANLY
doing business as
CAROLINA HEALTHCARE SYSTEM
NORTHEAST
doing business as
CAROLINAS MEDICAL CENTER

Plaintiff
RECTOR AND VISITORS OF THE                represented by Joel L. McElvain
UNIVERSITY OF VIRGINIA                                   (See above for address)
in CA 19−132                                             LEAD ATTORNEY
doing business as                                        ATTORNEY TO BE NOTICED
UNIVERSITY OF VIRGINIA MEDICAL
CENTER                                                   Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
VANDERBILT UNIVERSITY                     represented by Joel L. McElvain
MEDICAL CENTER                                           (See above for address)
in CA 19−132                                             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark D. Polston
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
SCOTLAND HEALTH CARE                      represented by Joel L. McElvain
SYSTEM                                                   (See above for address)
                                                                                   7
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in CA 19−132                                                  LEAD ATTORNEY
doing business as                                             ATTORNEY TO BE NOTICED
SCOTLAND REGIONAL
                                                              Mark D. Polston
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
ALEX M. AZAR, II                               represented by Bradley P. Humphreys
in his official capacity as SECRETARY OF                      U.S. DEPARTMENT OF JUSTICE
HEALTH AND HUMAN SERVICES                                     Civil Division, Federal Programs Branch
                                                              1100 L Street, NW
                                                              Washington, DC 20530
                                                              (202) 305−0878
                                                              Fax: (202) 639−6066
                                                              Email: bradley.humphreys@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Justin Michael Sandberg
                                                              U.S. DEPARTMENT OF JUSTICE
                                                              Civil Division, Federal Programs Branch
                                                              1100 L Street, NW
                                                              Room 11004
                                                              Washington, DC 20005
                                                              (202) 514−5838
                                                              Fax: (202) 616−8202
                                                              Email: justin.sandberg@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Amicus
AMERICA'S ESSENTIAL                            represented by Barbara D. A. Eyman
HOSPITALS                                                     EYMAN ASSOCIATES, PC
                                                              1120 G Street NW
                                                              Suite 770
                                                              Washington, DC 20005
                                                              (202) 567−6203
                                                              Email: beyman@eymanlaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


 Date Filed     #   Page Docket Text
 12/04/2018     1         COMPLAINT against ALEX M. AZAR, II ( Filing fee $ 400 receipt number
                          0090−5822140) filed by Clallam County Public Hospital No. 2 d/b/a Olympic
                          Medical Center, AMERICAN HOSPITAL ASSOCIATION, MERCY

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                   HEALTH MUSKEGON, ASSOCIATION OF AMERICAN MEDICAL
                   COLLEGES, YORK HOSPITAL. (Attachments: # 1 Civil Cover Sheet, # 2
                   Summons Liu, # 3 Summons Azar, # 4 Summons Whitaker)(Stetson, Catherine)
                   (Entered: 12/04/2018)
12/04/2018    2    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by AMERICAN HOSPITAL ASSOCIATION (Stetson,
                   Catherine) (Entered: 12/04/2018)
12/04/2018    3    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by ASSOCIATION OF AMERICAN MEDICAL
                   COLLEGES (Stetson, Catherine) (Entered: 12/04/2018)
12/04/2018    4    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by Clallam County Public Hospital No. 2 d/b/a Olympic
                   Medical Center (Stetson, Catherine) (Entered: 12/04/2018)
12/04/2018    5    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by YORK HOSPITAL (Stetson, Catherine) (Entered:
                   12/04/2018)
12/04/2018    6    LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by MERCY HEALTH MUSKEGON (Stetson, Catherine)
                   (Entered: 12/04/2018)
12/04/2018    7    NOTICE of Appearance by Susan Margaret Cook on behalf of All Plaintiffs
                   (Cook, Susan) (Entered: 12/04/2018)
12/06/2018         Case Assigned to Judge Rosemary M. Collyer. (zrdj) (Entered: 12/06/2018)
12/06/2018    8    SUMMONS (3) Issued Electronically as to ALEX M. AZAR, II, U.S. Attorney
                   and U.S. Attorney General (Attachments: # 1 Notice and Consent)(zrdj)
                   (Entered: 12/06/2018)
12/07/2018    9    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                   to the United States Attorney. Date of Service Upon United States Attorney on
                   12/6/2018. Answer due for ALL FEDERAL DEFENDANTS by 2/4/2019.
                   (Stetson, Catherine) (Entered: 12/07/2018)
12/20/2018   10    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   ALEX M. AZAR, II served on 12/13/2018. (Cook, Susan); Modified text on
                   12/26/2018 (zth). (Entered: 12/20/2018)
12/20/2018   11    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                   on United States Attorney General. Date of Service Upon United States
                   Attorney General 12/12/2018. (Cook, Susan) (Entered: 12/20/2018)
01/25/2019   12    MOTION to Stay in Light of Lapse of Appropriations by ALEX M. AZAR, II
                   (Attachments: # 1 Text of Proposed Order)(Humphreys, Bradley) (Entered:
                   01/25/2019)
01/28/2019         MINUTE ORDER denying 12 Motion to Stay and granting extension of time to
                   answer or otherwise respond. Defendants shall answer or otherwise respond to
                   the Complaint no later than 2/25/2019. Signed by Judge Rosemary M. Collyer
                   on 1/28/2019. (DAS) (Entered: 01/28/2019)
01/28/2019
                                                                                                   9
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                    Set/Reset Deadlines/Hearings: Answer or other response to Complaint due by
                    2/25/2019. (zcdw) (Entered: 01/30/2019)
01/29/2019   13     AMENDED COMPLAINT against All Defendants filed by CLALLAM
                    COUNTY PUBLIC HOSPITAL NO. 2, AMERICAN HOSPITAL
                    ASSOCIATION, MERCY HEALTH MUSKEGON, ASSOCIATION OF
                    AMERICAN MEDICAL COLLEGES, YORK HOSPITAL.(Stetson,
                    Catherine) (Entered: 01/29/2019)
02/01/2019   14     MOTION for Summary Judgment by AMERICAN HOSPITAL
                    ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL COLLEGES,
                    CLALLAM COUNTY PUBLIC HOSPITAL NO. 2, MERCY HEALTH
                    MUSKEGON, YORK HOSPITAL (Attachments: # 1 Memorandum in Support,
                    # 2 Declaration of AHA, # 3 Declaration of AAMC, # 4 Declaration of Olympic
                    Medical Center, # 5 Declaration of York Hospital, # 6 Declaration of Mercy
                    Health Muskegon, # 7 Text of Proposed Order)(Stetson, Catherine) (Entered:
                    02/01/2019)
02/01/2019   15     Joint MOTION for Briefing Schedule by AMERICAN HOSPITAL
                    ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL COLLEGES,
                    CLALLAM COUNTY PUBLIC HOSPITAL NO. 2, MERCY HEALTH
                    MUSKEGON, YORK HOSPITAL (Attachments: # 1 Text of Proposed
                    Order)(Stetson, Catherine) (Entered: 02/01/2019)
02/04/2019          MINUTE ORDER granting 15 Motion for Briefing Schedule. Defendant's
                    Opposition to Motion for Summary Judgment and Motion to Dismiss shall be
                    filed no later than March 1, 2019. Plaintiffs' Reply in Support of Motion for
                    Summary Judgment and Opposition to Motion to Dismiss shall be filed no later
                    than March 15, 2019. Defendant's Reply in Support of Motion to Dismiss shall
                    be filed no later than March 29, 2019. Signed by Judge Rosemary M. Collyer
                    on 2/4/2019. (DAS) (Entered: 02/04/2019)
02/04/2019          Set/Reset Deadlines/Hearings: Response to Motion for Summary Judgment due
                    by 3/1/2019. Reply to Motion for Summary Judgment due by 3/15/2019.
                    Motion to dismiss due by 3/1/2019. Response due by 3/15/2019. Reply due by
                    3/29/2019. (zcdw) (Entered: 02/05/2019)
02/21/2019   16     MOTION for Leave to File Amicus Curiae Brief by AMERICA'S ESSENTIAL
                    HOSPITALS (Attachments: # 1 Exhibit Proposed Amicus Brief, # 2 Text of
                    Proposed Order)(Eyman, Barbara) (Entered: 02/21/2019)
02/21/2019          MINUTE ORDER granting 16 Motion for Leave to File Amicus Curiae Brief.
                    Signed by Judge Rosemary M. Collyer on 2/21/2019. (DAS) (Entered:
                    02/21/2019)
02/21/2019   17     AMICUS BRIEF by AMERICA'S ESSENTIAL HOSPITALS. (tth) (Entered:
                    02/26/2019)
02/27/2019          MINUTE ORDER. All parties in related case numbers 18−cv−2841 and
                    19−cv−132 shall meet and confer and, no later than March 6, 2019, submit a
                    proposed schedule for consolidated dispositive briefing or show good cause
                    why such briefing should not be consolidated. The current briefing schedules in
                    both cases are stayed pending a decision on this issue. Signed by Judge
                    Rosemary M. Collyer on 2/27/2019. (DAS) (Entered: 02/27/2019)


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03/06/2019   18     RESPONSE TO ORDER OF THE COURT re Order, filed by AMERICAN
                    HOSPITAL ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL
                    COLLEGES, CLALLAM COUNTY PUBLIC HOSPITAL NO. 2, MERCY
                    HEALTH MUSKEGON, YORK HOSPITAL. (Stetson, Catherine) (Entered:
                    03/06/2019)
03/08/2019          MINUTE ORDER resetting the briefing schedule after consideration of the
                    parties' response to the Court's February 27, 2019 Minute Order. Response to
                    Motion for Summary Judgment and Motion to Dismiss due by 3/22/2019.
                    Reply to Motion for Summary Judgment and Opposition to Motion to Dismiss
                    due by 4/5/2019. Reply to Motion to Dismiss due by 4/19/2019. Signed by
                    Judge Rosemary M. Collyer on 3/8/2019. (DAS) (Entered: 03/08/2019)
03/08/2019          Set/Reset Deadlines/Hearings: Motion to Dismiss due by 3/22/2019. Response
                    due by 4/5/2019. Reply due by 4/19/2019. Response to Motion for Summary
                    Judgment due by 3/22/2019. Reply to Motion for Summary Judgment due by
                    4/5/2019. (zcdw) (Entered: 03/10/2019)
03/09/2019   19     NOTICE of Appearance by Susan Margaret Cook on behalf of All Plaintiffs
                    (Cook, Susan) (Entered: 03/09/2019)
03/22/2019   20     MOTION to Dismiss or, in the Alternative, Cross−Motion for Summary
                    Judgment by ALEX M. AZAR, II (Attachments: # 1 Memorandum in Support,
                    # 2 Text of Proposed Order)(Humphreys, Bradley). Added MOTION for
                    Summary Judgment on 3/25/2019 (tth). (Entered: 03/22/2019)
03/22/2019   21     Memorandum in opposition to re 14 MOTION for Summary Judgment filed by
                    ALEX M. AZAR, II. (Humphreys, Bradley) (Entered: 03/22/2019)
04/05/2019   22     Memorandum in opposition to re 20 MOTION to Dismiss or, in the Alternative,
                    Cross−Motion for Summary Judgment MOTION for Summary Judgment filed
                    by AMERICAN HOSPITAL ASSOCIATION, ASSOCIATION OF
                    AMERICAN MEDICAL COLLEGES, CLALLAM COUNTY PUBLIC
                    HOSPITAL NO. 2, MERCY HEALTH MUSKEGON, YORK HOSPITAL.
                    (Attachments: # 1 Text of Proposed Order)(Stetson, Catherine) (Entered:
                    04/05/2019)
04/05/2019   23     REPLY to opposition to motion re 14 MOTION for Summary Judgment filed
                    by AMERICAN HOSPITAL ASSOCIATION, ASSOCIATION OF
                    AMERICAN MEDICAL COLLEGES, CLALLAM COUNTY PUBLIC
                    HOSPITAL NO. 2, MERCY HEALTH MUSKEGON, YORK HOSPITAL.
                    (Stetson, Catherine) (Entered: 04/05/2019)
04/18/2019   24     NOTICE of Appearance by Justin Michael Sandberg on behalf of All
                    Defendants (Sandberg, Justin) (Entered: 04/18/2019)
04/19/2019   25     REPLY to opposition to motion re 20 MOTION to Dismiss or, in the
                    Alternative, Cross−Motion for Summary Judgment MOTION for Summary
                    Judgment filed by ALEX M. AZAR, II. (Humphreys, Bradley) (Entered:
                    04/19/2019)
08/02/2019   26     Motion for Hearing by AMERICAN HOSPITAL ASSOCIATION (Stetson,
                    Catherine); Modified event and text on 8/5/2019 (tth). (Entered: 08/02/2019)
08/15/2019   27     ORDER TO SHOW CAUSE. Plaintiffs shall show cause, by August 23, 2019,
                    why civil cases 18−2841 and 19−132 should not be consolidated for the
                                                                                                   11
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                    purposes of decision. See Order for details. Signed by Judge Rosemary M.
                    Collyer on 8/15/2019. (lcrmc3) (Entered: 08/15/2019)
08/15/2019          Set/Reset Deadlines: Plaintiff Show Cause due by 8/23/2019. (mac) (Entered:
                    08/15/2019)
08/20/2019   28     RESPONSE TO ORDER OF THE COURT re 27 Order filed by AMERICAN
                    HOSPITAL ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL
                    COLLEGES, CLALLAM COUNTY PUBLIC HOSPITAL NO. 2, MERCY
                    HEALTH MUSKEGON, YORK HOSPITAL. (Stetson, Catherine) (Entered:
                    08/20/2019)
08/26/2019          MINUTE ORDER consolidating cases 18−cv−2841 and 19−cv−132 for the
                    purposes of decision. 18−cv−2841 is the leading case. Signed by Judge
                    Rosemary M. Collyer on 8/26/2019. (lcrmc3) (Entered: 08/26/2019)
09/04/2019   29     ENTERED IN ERROR.....STIPULATION of Dismissal (Partial) by
                    CHARLOTTE−MECKLENBURG HOSPITAL AUTHORITY, COPLEY
                    MEMORIAL HOSPITAL, INC., FAYETTE COMMUNITY HOSPITAL,
                    INC., OSF HEALTHCARE SYSTEM, PIEDMONT ATHENS REGIONAL
                    MEDICAL CENTER, INC., PIEDMONT HOSPITAL, INC., PIEDMONT
                    MOUNTAINSIDE HOSPITAL, INC., RUSH OAK PARK HOSPITAL, INC.,
                    SCOTLAND HEALTH CARE SYSTEM. (Polston, Mark); Modified on
                    9/5/2019 (ztth). (Entered: 09/04/2019)
09/05/2019          NOTICE OF ERROR re 29 Stipulation of Dismissal; emailed to
                    mpolston@kslaw.com, cc'd 10 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Incorrect header/caption/case number, 2. Please
                    refile document (ztth, ) (Entered: 09/05/2019)
09/05/2019   30     STIPULATION of Dismissal (Partial) by CHARLOTTE−MECKLENBURG
                    HOSPITAL AUTHORITY, COPLEY MEMORIAL HOSPITAL, INC.,
                    FAYETTE COMMUNITY HOSPITAL, INC., OSF HEALTHCARE
                    SYSTEM, PIEDMONT ATHENS REGIONAL MEDICAL CENTER, INC.,
                    PIEDMONT HOSPITAL, INC., PIEDMONT MOUNTAINSIDE HOSPITAL,
                    INC., RUSH OAK PARK HOSPITAL, INC., SCOTLAND HEALTH CARE
                    SYSTEM. (Polston, Mark) (Entered: 09/05/2019)
09/10/2019          MINUTE ORDER accepting 30 Stipulation of Partial Dismissal Without
                    Prejudice. Signed by Judge Rosemary M. Collyer on 9/10/2019. (lcrmc3)
                    (Entered: 09/10/2019)
09/17/2019   31     MEMORANDUM OPINION. Signed by Judge Rosemary M. Collyer on
                    9/17/2019. (lcrmc3) (Entered: 09/17/2019)
09/17/2019   32     ORDER granting Plaintiffs' 14 Motion for Summary Judgment, and denying
                    Defendant's 20 Cross−Motion for Summary Judgment. The parties shall submit
                    a joint status report by October 1, 2019, regarding the need for additional
                    briefing. See Order for details. Signed by Judge Rosemary M. Collyer on
                    9/17/2019. (lcrmc3) (Entered: 09/17/2019)
09/17/2019          Set/Reset Deadlines/Hearings: Joint Status Report due by 10/1/2019. (zcdw)
                    (Entered: 09/18/2019)
09/17/2019          Set/Reset Deadlines/Hearings: Joint Status Report due by 10/1/2019. (zcdw)
                    (Entered: 09/19/2019)
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09/23/2019   33     MOTION to Modify Order by ALEX M. AZAR, II (Attachments: # 1 Text of
                    Proposed Order)(Humphreys, Bradley) (Entered: 09/23/2019)
09/30/2019   34     Memorandum in opposition to re 33 MOTION to Modify Order filed by
                    AMERICAN HOSPITAL ASSOCIATION, ASSOCIATION OF AMERICAN
                    MEDICAL COLLEGES, CLALLAM COUNTY PUBLIC HOSPITAL NO. 2,
                    MERCY HEALTH MUSKEGON, YORK HOSPITAL. (Attachments: # 1 Text
                    of Proposed Order)(Stetson, Catherine) (Entered: 09/30/2019)
10/01/2019   35     Memorandum in opposition to re 33 MOTION to Modify Order filed by
                    CHARLOTTE−MECKLENBURG HOSPITAL AUTHORITY, COLUMBUS
                    REGIONAL HEALTHCARE SYSTEM, COPLEY MEMORIAL HOSPITAL,
                    INC., EAST BATON ROUGE MEDICAL CENTER, LLC, FAYETTE
                    COMMUNITY HOSPITAL, INC., FLORIDA HEALTH SCIENCES CENTER
                    INC., MONTEFIORE HEALTH SYSTEM, INC.(in CA 19−132),
                    NORTHWEST MEDICAL CENTER, OCHSNER CLINIC FOUNDATION,
                    OSF HEALTHCARE SYSTEM, PIEDMONT ATHENS REGIONAL
                    MEDICAL CENTER, INC., PIEDMONT HOSPITAL, INC., PIEDMONT
                    MOUNTAINSIDE HOSPITAL, INC., PIEDMONT NEWNAN HOSPITAL,
                    INC., RECTOR AND VISITORS OF THE UNIVERSITY OF VIRGINIA,
                    RUSH OAK PARK HOSPITAL, INC., RUSH UNIVERSITY MEDICAL
                    CENTER, SARASOTA MEMORIAL HOSPITAL, SCOTLAND HEALTH
                    CARE SYSTEM, UNIVERSITY OF KANSAS HOSPITAL AUTHORITY,
                    VANDERBILT UNIVERSITY MEDICAL CENTER. (Polston, Mark)
                    (Entered: 10/01/2019)
10/01/2019   36     Joint STATUS REPORT by ALEX M. AZAR, II. (Humphreys, Bradley)
                    (Entered: 10/01/2019)
10/07/2019   37     REPLY to opposition re 33 MOTION to Modify Order Re−Filed Per Advice
                    from Clerks's Office (Filed on Monday via Email) filed by ALEX M. AZAR, II.
                    (Sandberg, Justin) Modified on 10/9/2019 to correct filed date (jf). (Entered:
                    10/09/2019)
10/21/2019   38     MEMORANDUM OPINION. Signed by Judge Rosemary M. Collyer on
                    10/21/2019. (DAS) (Entered: 10/21/2019)
10/21/2019   39     ORDER denying 33 Motion to Modify. This case is closed. Signed by Judge
                    Rosemary M. Collyer on 10/21/2019. (DAS) (Entered: 10/21/2019)
11/06/2019   40     NOTICE of Intent to File Motion to Enforce Judgment by AMERICAN
                    HOSPITAL ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL
                    COLLEGES, CLALLAM COUNTY PUBLIC HOSPITAL NO. 2, MERCY
                    HEALTH MUSKEGON, YORK HOSPITAL (Attachments: # 1 Text of
                    Proposed Order)(Cook, Susan) (Entered: 11/06/2019)
11/06/2019   41     MOTION for Briefing Schedule by AMERICAN HOSPITAL ASSOCIATION,
                    ASSOCIATION OF AMERICAN MEDICAL COLLEGES, CLALLAM
                    COUNTY PUBLIC HOSPITAL NO. 2, MERCY HEALTH MUSKEGON,
                    YORK HOSPITAL. (See Docket Entry 40 to view document) (ztth) (Entered:
                    11/07/2019)
11/07/2019   42     RESPONSE re 41 MOTION for Briefing Schedule and to Notice of Proposed
                    Motion filed by ALEX M. AZAR, II. (Sandberg, Justin) (Entered: 11/07/2019)


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11/11/2019   43     MOTION to Enforce Judgment by AMERICAN HOSPITAL ASSOCIATION,
                    ASSOCIATION OF AMERICAN MEDICAL COLLEGES, CLALLAM
                    COUNTY PUBLIC HOSPITAL NO. 2, MERCY HEALTH MUSKEGON,
                    YORK HOSPITAL (Attachments: # 1 Memorandum in Support, # 2 Text of
                    Proposed Order)(Cook, Susan) (Entered: 11/11/2019)
11/12/2019          MINUTE ORDER setting briefing schedule. The government's opposition to
                    Plaintiffs' 43 Motion to Enforce Judgment is due 11/25/2019. Plaintiffs' Reply
                    is due 12/5/2019. Signed by Judge Rosemary M. Collyer on 11/12/2019.
                    (lcrmc1) (Entered: 11/12/2019)
11/12/2019          Set/Reset Deadlines/Hearings: Response to 43 due by 11/25/2019. Reply due by
                    12/5/2019. (zcdw) (Entered: 11/13/2019)
11/21/2019   44     RESPONSE re 43 MOTION to Enforce Judgment filed by
                    CHARLOTTE−MECKLENBURG HOSPITAL AUTHORITY, COLUMBUS
                    REGIONAL HEALTHCARE SYSTEM, COPLEY MEMORIAL HOSPITAL,
                    INC., EAST BATON ROUGE MEDICAL CENTER, LLC, FAYETTE
                    COMMUNITY HOSPITAL, INC., FLORIDA HEALTH SCIENCES CENTER
                    INC., MONTEFIORE HEALTH SYSTEM, INC.(in CA 19−132),
                    NORTHWEST MEDICAL CENTER, OCHSNER CLINIC FOUNDATION,
                    OSF HEALTHCARE SYSTEM, PIEDMONT ATHENS REGIONAL
                    MEDICAL CENTER, INC., PIEDMONT HOSPITAL, INC., PIEDMONT
                    MOUNTAINSIDE HOSPITAL, INC., PIEDMONT NEWNAN HOSPITAL,
                    INC., RECTOR AND VISITORS OF THE UNIVERSITY OF VIRGINIA,
                    RUSH OAK PARK HOSPITAL, INC., RUSH UNIVERSITY MEDICAL
                    CENTER, SARASOTA MEMORIAL HOSPITAL, SCOTLAND HEALTH
                    CARE SYSTEM, UNIVERSITY OF KANSAS HOSPITAL AUTHORITY,
                    VANDERBILT UNIVERSITY MEDICAL CENTER. (McElvain, Joel)
                    (Entered: 11/21/2019)
11/25/2019   45     RESPONSE re 43 MOTION to Enforce Judgment filed by ALEX M. AZAR, II.
                    (Sandberg, Justin) (Entered: 11/25/2019)
12/05/2019   46     REPLY to opposition to motion re 43 MOTION to Enforce Judgment filed by
                    AMERICAN HOSPITAL ASSOCIATION, ASSOCIATION OF AMERICAN
                    MEDICAL COLLEGES, CLALLAM COUNTY PUBLIC HOSPITAL NO. 2,
                    MERCY HEALTH MUSKEGON, YORK HOSPITAL. (Stetson, Catherine)
                    (Entered: 12/05/2019)
12/09/2019   47     NOTICE (Supplement) by AMERICAN HOSPITAL ASSOCIATION,
                    ASSOCIATION OF AMERICAN MEDICAL COLLEGES, CLALLAM
                    COUNTY PUBLIC HOSPITAL NO. 2, MERCY HEALTH MUSKEGON,
                    YORK HOSPITAL re 46 Reply to opposition to Motion, (Stetson, Catherine)
                    (Entered: 12/09/2019)
12/12/2019   48     NOTICE OF APPEAL TO DC CIRCUIT COURT as to 38 Memorandum &
                    Opinion, 31 Memorandum & Opinion, 32 Order, 39 Order on Motion to Modify
                    by ALEX M. AZAR, II. Fee Status: No Fee Paid. Parties have been notified.
                    (Humphreys, Bradley) (Entered: 12/12/2019)




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
 THE AMERICAN HOSPITAL                        )
 ASSOCIATION, et al.,                         )
                                              )
               Plaintiffs,                    )         Case No. 1:18-CV-2841-RMC
                                              )
        v.                                    )
                                              )
 ALEX M. AZAR II, in his official capacity as )
 Secretary of Health & Human Services,        )
                                              )
               Defendant.                     )
                                              )
                                              )
                                              )
 UNIVERSITY OF KANSAS HOSPITAL                )
 AUTHORITY, et al.,                           )
                                              )
               Plaintiffs,                    )         Case No. 1:19-CV-132-RMC
                                              )
        v.                                    )
                                              )
 ALEX M. AZAR II, in his official capacity as )
 Secretary of Health & Human Services,        )
                                              )
               Defendant.                     )
                                              )
                                              )


                                    NOTICE OF APPEAL

       Defendant Alex M. Azar II, in his official capacity as Secretary of Health and Human

Services, hereby gives notice in the above-captioned cases that he appeals to the United States

Court of Appeals for the District of Columbia Circuit from all aspects of this Court’s October 21,

2019 final appealable order, ECF No. 39; the accompanying memorandum opinion, ECF No. 38;

the Court’s September 17, 2019 order, ECF No. 32; the accompanying memorandum opinion,

ECF No. 31; and all prior orders and decisions that merge into these orders.




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Dated: December 12, 2019                   Respectfully submitted,

                                           JOSEPH H. HUNT
                                           Assistant Attorney General

                                           MICHELLE R. BENNETT
                                           Assistant Branch Director

                                           /s/ Bradley P. Humphreys
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                                           Counsel for Defendant




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                  MEMORANDUM OPINION

               Under Medicare Part B, the Centers for Medicare & Medicaid Services (CMS)

pays hospital outpatient departments at predetermined rates for patient services, and Congress

has established the Outpatient Prospective Payment System by which CMS is to set and pay

those rates. CMS came to believe that the rate for certain clinic-visit services at a specific subset

of these outpatient departments—familiarly, off-campus provider-based departments—was too

high and that patients could receive similar services from free-standing physician offices at lower

cost to the government and to taxpayers. Accordingly, CMS promulgated a rule in 2018

lowering the payment rate for clinic-visit services at off-campus provider-based departments to

match the rate for similar services at physician offices, in order to shift patients towards the

latter.

               Plaintiffs are hospital organizations which have seen their payment rates cut.

They argue that the method by which CMS has cut their rates has no place in the statutory

scheme established by Congress, and further that Congress has already decided as a matter of

policy and practicality that off-campus provider-based departments should be paid at higher rates
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than physician offices for similar services. In short, Plaintiffs argue that CMS’ 2018 rule is ultra

vires. CMS opposes. Both parties move for summary judgment.

               The Court has given close attention to the parties’ arguments and the statutory

scheme, which, as relevant, is both simple and detailed. For the reasons below, the Court finds

that CMS exceeded its statutory authority when it cut the payment rate for clinic services at off-

campus provider-based clinics. The Court will grant Plaintiffs’ motion, deny CMS’ cross-

motion, vacate the rule, and remand.

                                     I.   BACKGROUND

               The Medicare program, established by Title XVIII of the Social Security Act, 42

U.S.C. § 1395 et seq., provides federally funded medical insurance to the elderly and disabled.

Medicare Part A addresses insurance coverage for inpatient hospital care, home health care, and

hospice services. Id. § 1395c. Medicare Part B addresses supplemental coverage for other types

of care, including outpatient hospital care. Id. §§ 1395j, 1395k.

           A. The Outpatient Prospective Payment System

               Under Medicare Part B, CMS directly reimburses hospital outpatient departments

for providing outpatient department (OPD) services to Medicare beneficiaries, which payments

are made through the elaborate Outpatient Prospective Payment System (occasionally, OPPS).

See generally 42 U.S.C. § 1395l(t). Implemented as part of the Balanced Budget Act of 1997,

Pub. L. No. 105-33, 111 Stat. 251, the Outpatient Prospective Payment System does not

reimburse hospitals for their actual costs of providing OPD services. Rather, as with Medicare

generally and in an effort to control costs, the Outpatient Prospective Payment System pays for

OPD services at pre-determined rates. See Amgen, Inc. v. Smith, 357 F.3d 103, 106 (D.C. Cir.

2004). Those payment rates are determined as follows: OPD services which are clinically

comparable or which require similar resource usage are grouped together and assigned an

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Ambulatory Payment Classification (occasionally, APC). 42 U.S.C. § 1395l(t)(2)(B). A formula

is used to calculate the relative payment weight of each Ambulatory Payment Classification

against other APCs, based on the average cost of providing OPD services in previous years. See

id. § 1395l(t)(2)(C). Each Ambulatory Payment Classification’s relative payment weight is then

multiplied by an Outpatient Prospective Payment System “conversion factor”—which is the

same for, and applies uniformly to, all APCs—to reach the fee schedule amount for each APC.

Id. § 1395l(t)(3)(D). Ultimately, the actual amount paid to the hospital is the calculated fee

schedule amount adjusted for regional wages, transitional pass-through payments, outlier costs,

“and other adjustments as determined to be necessary to ensure equitable payments, such as

adjustments for certain classes of hospitals,” id. § 1395l(t)(2)(D)-(E), less an applicable

deductible and modified by a “payment proportion.” See id. § 1395l(t)(4).

               Every year, CMS must review the groups, relative payment weights, and wage

and other adjustments for each Ambulatory Payment Classification to account for changes in

medical practice or technology, new services, new cost data, and other relevant information and

factors. Id. § 1395l(t)(9)(A). This annual review is conducted with an important caveat: any

adjustment to the groups, relative payment weights, or adjustments must be budget neutral,

meaning that it cannot cause a change in CMS’ estimated expenditures for OPD services for the

year. See id. § 1395l(t)(9)(B); cf. id. § 1395l(t)(9)(D)-(E) (requiring initial wage, outlier, and

other adjustments also be budget neutral). Thus, decreases or increases in spending caused by

one adjustment must be offset with increases or decreases in spending by another.

               CMS must also update annually the Outpatient Prospective Payment System

conversion factor, generally to account for the inflation rate for the cost of medical services, see

id. § 1395l(t)(3)(C)(iv), but sometimes for other reasons, as discussed below. Unlike



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adjustments to Ambulatory Payment Classifications under paragraph (t)(9)(A), adjustments to

the conversion factor do not need to be budget neutral. See generally id. § 1395l(t)(3)(C)

(describing conversion factor inputs). However, because the same conversion factor applies

equally to all Ambulatory Payment Classifications, adjustments to the conversion factor cannot

be used to change the fee schedule for specific APCs. In other words, changes to the conversion

factor affect total spending and not spending on specific services.

               The Outpatient Prospective Payment System controls overall costs by

incentivizing hospital outpatient departments to provide OPD services at or below the average

cost for such services. That said, while the Outpatient Prospective Payment System limits the

amount Medicare will pay for each service, it does not limit the volume or mix of services

provided to a patient. Concerned that fee schedule limits would not adequately limit increases in

overall expenditures, Congress included as part of the Outpatient Prospective Payment System

two provisions at issue here. Under paragraph (t)(2)(F), “the Secretary shall develop a method

for controlling unnecessary increases in the volume of covered OPD services.” Id.

§ 1395l(t)(2)(F). Further, under paragraph (t)(9)(C), “[i]f the Secretary determines under

methodologies described in paragraph (2)(F) that the volume of services paid for under this

subsection increased beyond amounts established through those methodologies, the Secretary

may appropriately adjust the update to the conversion factor otherwise applicable in a subsequent

year.” Id. § 1395l(t)(9)(C).

           B. Off-Campus Provider-Based Departments, Physician Offices, and the
              Bipartisan Budget Act of 2015

               Many medical services that were once only offered in an inpatient hospital setting

can now be provided by hospital outpatient departments whereby the patient does not spend the

night. Medicare traditionally welcomed these cheaper alternatives to inpatient care and, to meet


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the growing demand for these services, some hospitals have established off-campus provider-

based departments (occasionally, PBDs), which are outpatient departments at facilities separated

by a specific distance (or more) from the physical campus of the hospital with which they are

affiliated. See 42 C.F.R. § 413.65(e). Although not physically proximate to their affiliated

hospital’s main campus, 1 off-campus provider-based departments are so closely integrated into

the same system that they are considered part of the hospital itself. This allows off-campus

provider-based departments to offer more comprehensive services to their patients but also

subjects off-campus provider-based departments to the same regulatory requirements as the main

hospital. See 42 C.F.R. § 413.65 (describing regulatory requirements for off-campus provider-

based departments). Because they are part of the same system and face the same regulatory

requirements and regulatory costs as hospitals, off-campus provider-based departments have

generally been paid at the same rates hospitals are paid for OPD services. 2

                 That said, some comparable outpatient medical services can also be provided by

free-standing physician offices, which are medical practices not integrated with, or part of, a

hospital. See 42 C.F.R. § 413.65(a)(2). While physician offices do not provide the same array of

services as off-campus provider-based departments, they also do not bear the same regulatory

requirements and costs as hospitals. Accordingly, CMS pays physician offices for outpatient

medical services according to the lower-paying Medicare Physician Fee Schedule instead of the

Outpatient Prospective Payment System. As relevant to this case, in 2017 the Outpatient

Prospective Payment System rate for the most voluminous OPD service provided by off-campus


1
 For example, an off-campus provider-based department may be located away from the main
hospital because of space constraints at the main campus, or because the hospital wants to have
an affiliated facility in a different (oftentimes underserved) neighborhood.
2
    Not all are paid the same amounts, for reasons described below.


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provider-based departments, “evaluation and management of a patient” (E&M), 3 was $184.44

for new patients and $109.46 for established patients while the Physician Fee Schedule rate for

the comparable service at a physician office was $109.46 for a new patient and $73.93 for an

established patient. See 83 Fed. Reg. 37,046, 37,142 (July 31, 2018) (Proposed Rule).

               Until 2015, all off-campus provider-based departments were paid according to the

Outpatient Prospective Payment System. At that time, the volume of OPD services had

increased by 47 percent over the decade ending in calendar year 2015 and, in the five years from

2011 to 2016, combined program spending and beneficiary cost-sharing (i.e., co-payments) rose

by 51 percent, from $39.8 billion to $60.0 billion. See Proposed Rule at 37,140. There are many

possible explanations for this increase. For one, the Medicare-eligible population grew

substantially during the same time period. See Medicare Board of Trustees, 2018 Annual Report

of the Board of Trustees of the Federal Hospital Insurance and Federal Supplementary Medical

Insurance Trust Funds 181 (2018), available at https://go.cms.gov/2m5ZCok. For another,

advances in medical technology shifted services from inpatient settings to outpatient settings.

See Ken Abrams, Andreea Balan-Cohen & Priyanshi Durbha, Growth in Outpatient Care,

Deloitte (Aug. 15, 2018), available at https://bit.ly/2nOkG05.

               However, the Medicare Payment Advisory Commission (MedPAC), an

independent congressional agency which advises Congress on issues related to Medicare, long

believed that another major reason for this increase was the financial incentive created by the

Outpatient Prospective Payment System compared to the Physician Fee Schedule. See MedPAC,

Report to the Congress: Medicare Payment Policy 69-70 (Mar. 2017). That is, because off-



3
 Technically, E&M services fall under Healthcare Common Procedure Coding System (HCPCS)
code G0463, billed under APC 5012 (Clinic Visits and Related Services).

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campus provider-based departments are paid at higher rates than physician offices, MedPAC

advised that hospitals were buying existing physician offices and converting them into off-

campus provider-based departments, sometimes without a change of location or patients,

unnecessarily causing CMS to incur higher costs. See id. To combat this trend, MedPAC

repeatedly recommended that Congress authorize CMS to equalize payment rates under both the

Outpatient Prospective Payment System and Physician Fee Schedule for certain services,

including E&M services, at all off-campus provider-based departments. See id. at 70-71; see

also id. at 69 (“One-third of the growth in outpatient volume from 2014 to 2015 was due to an

increase in the number of evaluation and management (E&M) visits billed as outpatient

services.”). Hospitals responded by advising Congress that MedPAC’s recommendation ignored

the higher costs required to operate a hospital and would force some existing off-campus

provider-based departments, which relied on the rates set by the Outpatient Prospective Payment

System, to reduce their services or close completely. See, e.g., Letter from Atul Grover, Chief

Pub. Policy Officer, Ass’n of Am. Med. Colls., to The Hon. John Barrasso, et al. (Jan. 13, 2012),

available at http://bit.ly/2LVEXOT.

               Congress ended the debate, at least momentarily, when it adopted Section 603 of

the Bipartisan Budget Act of 2015, Pub. L. No. 114-74, § 603, 129 Stat. 584, 597 (2015). That

2015 statute neither equalized payment rates for physicians offices and off-campus provider-

based departments, as MedPAC had recommended, nor left the Outpatient Prospective Payment

System untouched, as the hospitals requested. Instead, Congress chose a middle path: Off-

campus provider-based departments that were billing under the Outpatient Prospective Payment

System as of November 2, 2015 (now “excepted off-campus PBDs”) were permitted to continue

that practice. See 42 U.S.C. § 1395l(t)(21)(B)(ii). However, off-campus provider-based



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departments which were not billing under the Outpatient Prospective Payment System as of

November 2, 2015, i.e., new off-campus provider-based departments (or “nonexcepted off-

campus PBDs”), would be paid according to a different rate system to be selected by CMS. See

id. § 1395l(t)(21)(C). In practice, CMS continues to pay nonexcepted off-campus PBDs under

the Outpatient Prospective Payment System but applies a “[Physician Fee Schedule] Relativity

Adjustor” which approximates the rate the operative Physician Fee Schedule would have paid.

See 81 Fed. Reg. 79,562, 79,726 (Nov. 14, 2016).

            C. The Final Rule and Plaintiffs’ Challenge

               Despite these changes, the volume of OPD services provided by excepted off-

campus provider-based departments grew. When Congress passed the Bipartisan Budget Act of

2015, expenditures by the Outpatient Prospective Payment System were approximately $56

billion and increasing at an annual rate of about 7.3 percent, with the volume and intensity of

outpatient services increasing by 3.5 percent. See Proposed Rule at 37,139. In 2018, CMS

estimated that, without intervention, expenditures in 2019 would rise to $75 billion (an increase

of 8.1 percent over 2018), with the volume and intensity increasing by 5.3 percent. See id. at

37,139.

               CMS thus proposed to implement a “method for controlling unnecessary increases

in the volume of covered OPD services.” See generally id. at 37,138-143; cf. 42 U.S.C.

§ 1395l(t)(2)(F). Specifically, CMS determined that many of the E&M services provided by off-

campus provider-based departments were “unnecessary increases in the volume of outpatient

department services.” Such services were not deemed medically “unnecessary” but financially

“unnecessary” because “these services could likely be safely provided in a lower cost setting,”




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i.e., at physician offices. 4 Proposed Rule at 37,142. More specifically, CMS determined that the

growth of E&M services provided by off-campus provider-based departments was due to the

higher payment rate available to excepted off-campus provider-based departments under the

Outpatient Prospective Payment System. Id. CMS proposed to solve its financial problem by

applying the corresponding Physician Fee Schedule rate for E&M services to excepted off-

campus PBDs, thereby equalizing the payment rate for E&M services provided by excepted off-

campus PBDs, nonexcepted off-campus PBDs, and physician offices alike. Id. at 37,142.

               CMS also determined that it could not control the volume of financially

“unnecessary” OPD services in a budget-neutral fashion, since this would “simply shift the

movement of the volume within the OPPS system in the aggregate.” Id. at 37,143. Therefore,

CMS proposed to implement its new approach in a non-budget-neutral manner, asserting that the

budget neutrality requirements of paragraphs (t)(2)(D)-(E) and (t)(9)(B) do not apply to

“methods” developed under paragraph (t)(2)(F) and that its new approach constituted such a

method. Id. CMS estimated that this approach would save approximately $610 million in 2019

alone. Id.

               CMS received almost 3,000 comments on the Proposed Rule, many of which

argued that CMS lacked statutory authority to implement the proposed method. Nonetheless, on

November 21, 2018, CMS issued a Final Rule implementing the proposed method effective



4
  As a general matter, CMS uses expenditures over targeted levels to measure “unnecessary”
increases in the volume of OPD services, albeit not without criticism. See, e.g., 63 Fed. Reg.
47,552, 47,586 (Sept. 8, 1998) (“[W]e are examining a number of mechanisms to control
unnecessary increases, as reflected by expenditure levels, in the volume of covered outpatient
department services.”); 65 Fed. Reg. 18,434, 18,503 (Apr. 7, 2000) (“Others argued that an
expenditure target is not a reliable way to distinguish the growth of necessary versus unnecessary
services.”); 66 Fed. Reg. 44,672, 44,707 (Aug. 24, 2001) (noting MedPAC’s recommendation
that CMS “not use an expenditure target to update the conversion factor”).

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January 1, 2019. See generally Medicare Program: Changes to Hospital Outpatient

Prospective Payment and Ambulatory Surgical Center Payment Systems and Quality Reporting

Programs, 83 Fed. Reg. 58,818, 59,004-15 (Nov. 21, 2018) (Final Rule). The only substantive

change between the Proposed Rule and the Final Rule was that implementation of the full E&M

rate cut was staggered over two years, saving an estimated $300 million in 2019, with additional

savings subsequent. Id. at 59,004.

               Plaintiffs are hospital organizations and related trade groups that have provided

services with payment rates affected by the Final Rule, have submitted claims for payment by

Medicare, and have appealed determinations on those claims to CMS. The Defendant is Alex M.

Azar, in his official capacity as the Secretary of the Department of Health and Human Services.

Plaintiffs argue that the Final Rule is contrary to both the Medicare statutory scheme and the

policy decision reached by Congress under Section 603 of the Bipartisan Budget Act of 2015 and

is therefore ultra vires. Both parties have moved for summary judgment; the matter is now ripe. 5

                                 II.   LEGAL STANDARD

               Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment shall

be granted “if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); accord Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). “In a case involving review of a final agency

action under the Administrative Procedure Act, however, the standard set forth in Rule 56[] does



5
  On August 26, 2019, the Court consolidated two cases challenging the same Final Rule: Am.
Hosp. Ass’n v. Azar, No. 18-2841 (RMC), and Univ. of Kansas Hosp. Auth. v. Azar, No. 19-132
(RMC). See 8/26/2019 Minute Order. Although each set of plaintiffs asserts a different legal
vehicle to bring their claim—non-statutory review and APA review, respectively—both
challenge the same Final Rule on purely legal grounds with largely overlapping, and not
inconsistent, legal arguments. Both legal theories are addressed herein.

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not apply because of the limited role of a court in reviewing the administrative record.” Sierra

Club v. Mainella, 459 F. Supp. 2d 76, 89 (D.D.C. 2006) (internal citation omitted); see also

Charter Operators of Alaska v. Blank, 844 F. Supp. 2d 122, 126-27 (D.D.C. 2012). Under the

APA, the agency’s role is to resolve factual issues to reach a decision supported by the

administrative record, while “‘the function of the district court is to determine whether or not as

a matter of law the evidence in the administrative record permitted the agency to make the

decision it did.’” Sierra Club, 459 F. Supp. 2d at 90 (quoting Occidental Eng’g Co. v. INS, 753

F.2d 766, 769-70 (9th Cir. 1985)). “Summary judgment thus serves as the mechanism for

deciding, as a matter of law, whether the agency action is supported by the administrative record

and otherwise consistent with the APA standard of review.” Id. (citing Richards v. INS, 554

F.2d 1173, 1177 & n.28 (D.C. Cir. 1977)).

               Plaintiffs’ argument that the Secretary acted ultra vires is premised on three basic

tenets of administrative law. First, “an agency’s power is no greater than that delegated to it by

Congress.” Lyng v. Payne, 476 U.S. 926, 937 (1986); see also Transohio Sav. Bank v. Dir.,

Office of Thrift Supervision, 967 F.2d 598, 621 (D.C. Cir. 1992). Second, agency actions beyond

delegated authority are ultra vires and should be invalidated. Transohio, 967 F.2d at 621. Third,

courts look to an agency’s enabling statute and subsequent legislation to determine whether the

agency has acted within the bounds of its authority. Univ. of D.C. Faculty Ass’n/NEA v. D.C.

Fin. Responsibility & Mgmt. Assistance Auth., 163 F.3d 616, 620-21 (D.C. Cir. 1998)

(explaining that ultra vires claims require courts to review the relevant statutory materials to

determine whether “Congress intended the [agency] to have the power that it exercised when it

[acted]”).




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               When reviewing an agency’s interpretation of its enabling statute and the laws it

administers, courts are guided by “the principles of Chevron, U.S.A., Inc. v. Natural Resources

Defense Council, Inc., 467 U.S. 837 (1984).” Mount Royal Joint Venture v. Kempthorne, 477

F.3d 745, 754 (D.C. Cir. 2007) (internal citations omitted). Chevron sets forth a two-step

inquiry. The initial question is whether “Congress has directly spoken to the precise question at

issue.” Chevron, 467 U.S. at 843. If so, then “that is the end of the matter” because both courts

and agencies “must give effect to the unambiguously expressed intent of Congress.” Id. at 842-

43. To decide whether Congress has addressed the precise question at issue, a reviewing court

applies “‘the traditional tools of statutory construction.’” Fin. Planning Ass’n v. SEC, 482 F.3d

481, 487 (D.C. Cir. 2007) (quoting Chevron, 467 U.S. at 843 n.9). It analyzes “the text,

structure, and the overall statutory scheme, as well as the problem Congress sought to solve.” Id.

(citing PDK Labs. Inc. v. DEA, 362 F.3d 786, 796 (D.C. Cir. 2004); Sierra Club v. EPA, 294

F.3d 155, 161 (D.C. Cir. 2002)). When the statute is clear, the text controls and no deference is

extended to an agency’s interpretation in conflict with the text. Chase Bank USA, N.A. v.

McCoy, 562 U.S. 195 (2011).

               If the statute is ambiguous or silent on an issue, a court proceeds to the second

step of the Chevron analysis and determines whether the agency’s interpretation is based on a

permissible construction of the statute. Chevron, 467 U.S. at 843; Sherley v. Sebelius, 644 F.3d

388, 393-94 (D.C. Cir. 2011). Under Chevron Step Two, a court determines the level of

deference due to the agency’s interpretation of the law it administers. See Mount Royal Joint

Venture, 477 F.3d at 754. Where, as here, “an agency enunciates its interpretation through

notice-and-comment rule-making or formal adjudication, [courts] give the agency’s

interpretation Chevron deference.” Id. at 754 (citing United States v. Mead Corp., 533 U.S. 218,



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230-31 (2001)). That is, an agency’s interpretation that is permissible and reasonable receives

controlling weight, 6 id., “even if the agency’s reading differs from what the court believes is the

best statutory interpretation,” see Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs.,

545 U.S. 967, 980 (2005). Such broad deference is particularly warranted when the regulations

at issue “concern[] a complex and highly technical regulatory program.” Thomas Jefferson Univ.

v. Shalala, 512 U.S. 504, 512 (1994) (internal quotation marks and citation omitted).

                                      III.   ANALYSIS

           A. Reviewability

               The government contends that this Court lacks jurisdiction to review the Final

Rule under the APA because Congress has precluded judicial review of the development of the

Outpatient Prospective Payment System, including its methods and adjustments, and because

Plaintiffs have failed to exhaust their administrative remedies under the Medicare statute.

               1. Preclusion of Judicial Review

               Agency action is subject to judicial review under the APA unless the statute

precludes review, or the agency action is committed to agency discretion by law. See COMSAT

Crop. v. FCC, 114 F.3d 223, 226 (D.C. Cir. 1997) (citing 5 U.S.C. § 701(a)). The statute

specifies one such limitation:

               There shall be no administrative or judicial review under section
               1395ff of this title, 1395oo of this title, or otherwise of—

               (A) the development of the classification system under paragraph
               (2), including the establishment of groups and relative payment
               weights for covered OPD services, of wage adjustment factors, other
               adjustments, and methods described in paragraph (2)(F).




6
 An interpretation is permissible and reasonable if it is not arbitrary, capricious, or manifestly
contrary to the statute. Mount Royal Joint Venture, 477 F.3d at 754.

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42 U.S.C. § 1395l(t)(12)(A) (emphasis added). The government argues here that the Final Rule

imposed a rate cut as a “method” developed under paragraph (t)(2)(F) and so court review is

barred. Cf. id. § 1395l(t)(2)(F) (“[T]he Secretary shall develop a method for controlling

unnecessary increases in the volume of covered OPD services.”).

               Despite the bar against Medicare review in some contexts, “[t]here is a strong

presumption that Congress intends judicial review of administrative action, and it can only be

overcome by a clear and convincing evidence that Congress intended to preclude the suit.”

Amgen, 357 F.3d at 111 (internal citations and quotations omitted). “The presumption is

particularly strong that Congress intends judicial review of agency action taken in excess of

delegated authority.” Id. “Such review is favored . . . ‘if the wording of a preclusion clause is

less than absolute.’” Id. (quoting Dart v. United States, 848 F.2d 217, 221 (D.C. Cir. 1988)).

“Whether and to what extent a particular statute precludes judicial review is determined not only

from its express language, but also from the structure of the statutory scheme, its objectives, its

legislative history, and the nature of the administrative action involved.” Block v. Cmty.

Nutrition Inst., 467 U.S. 340, 346 (1984).

               Applied to this case, paragraph (t)(12)(A) plainly shields a “method” to control

volume in outpatient departments from judicial review. To determine whether that shield

applies, though, the Court must ascertain, consistent with Plaintiffs’ ultra vires claims, whether

what CMS calls a “method” satisfies the statute. That is, CMS cannot shield any action from

judicial review merely by calling it a “method,” even if it is not that. Accordingly, “the

determination of whether the court has jurisdiction is intertwined with the question of whether

the agency has authority for the challenged action, and the court must address the merits to the

extent necessary to determine whether the challenged agency action falls within the scope of the



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preclusion on judicial review.” Id. at 113; see also COMSAT, 114 F.3d at 227 (“The no-review

provision . . . merges consideration of the legality of the [agency’s] action with consideration of

this court’s jurisdiction in cases in which the challenge to the [agency’s] action raises the

question of the [agency’s] authority to enact a particular amendment.”). Because, as explained

below, the Court finds that CMS’ action here does not constitute a “method” within the meaning

of the statute, the Court also finds that paragraph (t)(12)(A) does not preclude judicial review of

Plaintiffs’ claims. 7

                2. Exhaustion

                As argued by the government, Section 405(g) of the Medicare statute requires a

plaintiff to obtain administrative review of its claims before filing suit in court. See 42 U.S.C.

§ 405(g); see also Am. Hosp. Ass’n v. Azar, 895 F.3d 822, 825 (D.C. Cir. 2018) (describing the

Medicare statute channeling provisions). Specifically, Section 405(g) has two requirements: (1)

“presentment” of the claim; and (2) exhaustion of administrative remedies. See Am. Hosp. Ass’n,

895 F.3d at 825-26. The government does not substantially argue that Plaintiffs have failed to

present their claim. But the government does argue that Plaintiffs have not fully availed

themselves of the administrative review process. Plaintiffs concede that they have not exhausted

their administrative remedies fully but argue that the requirement of exhaustion should be

waived because further administrative review would be futile.


7
  Certain plaintiffs argue that they may bring a non-statutory ultra vires claim, even if review
under the APA is precluded. See Reply in Supp. of Pls.’ Mot. for Summ. J. [Dkt. 25] at 11-14.
True, “the case law in this circuit is clear that judicial review is available when an agency acts
ultra vires.” Aid Ass’n for Luterans v. U.S. Postal Serv., 321 F.3d 1166, 1173 (D.C. Cir 2003).
But non-statutory claims may also be precluded and the standard for determining whether non-
statutory review is limited is the same as under the APA. See Dart, 848 F.2d at 221 (“If the
wording of a preclusion clause is less than absolute, the presumption of judicial review . . . is
favored when an agency is charged with acting beyond its authority.”). Thus, the analysis and
outcome are the same.

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               “Futility may serve as a ground for excusing exhaustion, either on its own or in

conjunction with other factors.” Nat’l Ass’n for Home Care & Hospice, Inc. v. Burwell, 77 F.

Supp. 3d 103, 110 (D.D.C. 2015) (citing Tataranowicz v. Sullivan, 959 F.2d 268, 274 (D.C. Cir.

1992)). Futility applies where exhaustion would be “clearly useless,” such as where the agency

“has indicated that it does not have jurisdiction over the dispute, or because it has evidenced a

strong stand on the issue in question and an unwillingness to reconsider the issue.” Randolph-

Sheppard Vendors v. Weinberger, 795 F.2d 90, 106 (D.C. Cir. 1986). That said, the ordinary

standard for futility in administrative law cases is inapplicable in Medicare cases. See

Weinberger v. Salfi, 422 U.S. 749, 766 (1975) (stating that § 405(g) is “more than simply a

codification of the judicially developed doctrine of exhaustion, and may not be dispensed with

merely by a judicial conclusion of futility”). In the context of Medicare, courts also look to

whether “judicial resolution of the issue will interfere with the agency’s efficient functioning,

deny the agency the ability to self-correct, or deprive the Court of the benefits of the agency’s

expertise and an adequate factual record.” Nat’l Ass’n for Home Care & Hospice, 77 F. Supp.

3d at 111 (citing Tataranowicz, 959 F.2d at 275); see also Am. Hosp. Ass’n v. Azar, 348 F. Supp.

3d 72, 75 (D.D.C. 2018), appeal docketed, No. 19-5048 (D.C. Cir. Feb. 28 2019).

               Consideration of these factors makes clear that requiring Plaintiffs to exhaust their

administrative remedies here would be a “wholly formalistic” exercise in futility. Tataranowicz,

959 F.2d at 274. The government does not argue that further administrative review is necessary

for the agency’s efficient functioning. Nor does the government argue that administrative review

will give the agency the opportunity to self-correct. To the contrary, CMS’ interpretation here is

“even more embedded” since it was promulgated through notice-and-comment rulemaking

whereby CMS has already considered and rejected Plaintiffs’ specific arguments. Nat’l Ass’n for



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Home Care & Hospice, 77 F. Supp. 3d at 112; Final Rule at 59,011-13. Finally, additional

administrative review would do nothing to develop the factual record or provide the Court with

further benefits of agency expertise, since this case concerns a purely legal challenge to the scope

of the Secretary’s statutory authority. See Hall v. Sebelius, 689 F. Supp. 2d 10, 23-24 (D.D.C.

2009) (“[E]xhaustion may be excused where an agency has adopted a policy or pursued a

practice of general applicability that is contrary to the law.” (internal quotations omitted)).

Indeed, it does not appear that further expertise can be brought to bear since no administrative

review body has the authority to override CMS’ binding regulations. See 42 C.F.R.

§ 405.1063(a) (“All laws and regulations pertaining to the Medicare and Medicaid programs . . .

are binding on ALJs and attorney adjudicators, and the [Medicare Appeals] Council.”); see, e.g.,

Noridian Healthcare Solutions, G0463 Has No Appeal Rights (Mar. 22, 2019), available at

http://bit.ly/2K2Yw4W (“CMS has provided direction to the Medicare Administrative

Contractors (MACs) to dismiss requests appealing the reimbursement of HCPCS G0463. No

further appeal rights will be granted at subsequent levels due to the statutory guidance supporting

the pricing of this HCPCS code.”). In short, the government “gives no reason to believe that the

agency machinery might accede to plaintiffs’ claims,” even as it recites the formal steps involved

in administrative review. Tataranowicz, 959 F.2d at 274.

           B. The Outpatient Prospective Payment System Statutory Scheme

               Plaintiffs argue that if CMS wants to reduce the payment rate for a particular OPD

service, it must change the relative payment weights and adjustments through the annual review

process, see 42 U.S.C. § 1395l(t)(9)(A), in a budget neutral manner, see id. § 1395l(t)(9)(B).

Alternatively, if CMS wants to reduce Medicare costs by addressing “unnecessary increases in

the volume of services,” it must first develop a method to do so, id. § 1395l(t)(2)(F), which it

may then implement across-the-board by adjusting the conversion factor, see id.
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§ 1395l(t)(9)(C). This statutory scheme, Plaintiffs argue, is intended to prevent exactly what

happened here: a selective cut to Medicare funding which targets only certain services and

providers.

               The government responds that CMS has authority to “develop a method for

controlling unnecessary increases” in volume under paragraph (t)(2)(F) and that this authority is

independent of its authority under paragraph (t)(9)(C) to adjust the conversion factor. It argues

that these two actions are different and independent cost-control tools in its regulatory belt.

Further, the government argues that CMS may develop a “method” to set payment rates for a

particular service which is causing an “unnecessary” increase in cost (and volume) without

regard to budget neutrality, because there is no logical reason Congress would want CMS to

penalize all outpatient departments—by reducing rates for all OPD services—for the spike in

volume (as measured by total expenditures) if only one such service caused the spike.

               The government emphasizes that “method” is not explicitly defined in the statute

and argues that its approach satisfies generic definitions of the term. See, e.g., Method, Black’s

Law Dictionary (11th ed. 2019) (“A mode of organizing, operating, or performing something,

esp. to achieve a goal.”). But “reasonable statutory interpretation must account for both ‘the

specific context in which . . . language is used’ and ‘the broader context of the statute as a

whole.’” Util. Air Regulatory Grp., 573 U.S. at 321 (quoting Robinson v. Shell Oil Co., 519 U.S.

337, 341 (1997)). “A statutory ‘provision that may seem ambiguous in isolation is often clarified

by the remainder of the statutory scheme . . . because only one of the permissible meanings

produces a substantive effect that is compatible with the rest of the law.’” Id. (quoting United

Sav. Ass’n of Tex. v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365, 371 (1988)); see also

King v. Burwell, 135 S. Ct. 2480, 2483 (2015) (“[O]ftentimes the meaning—or ambiguity—of



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certain words or phrases may only become evident when placed in context.”). As such, the

Court must “read the words ‘in their context and with a view to their place in the overall

statutory scheme.’” King, 135 S. Ct. at 2483 (quoting FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 133 (2000)); see also Util. Air Regulatory Grp., 573 U.S. at 320. That

context does not make clear what a “method” is, but it does make clear what a “method” is not:

it is not a price-setting tool, and the government’s effort to wield it in such a manner is

manifestly inconsistent with the statutory scheme. There are two reasons.

               First, Congress established an elaborate statutory scheme which spelled out each

step for determining the amount of payment for OPD services under the Outpatient Prospective

Payment System. As detailed in 42 U.S.C. § 1395l(t)(4), titled “Medicare payment amount,” the

amount paid “is determined” by: the fee schedule amount “computed under paragraph (3)(D)”

for the OPD service’s Ambulatory Payment Classification, adjusted for wages and other factors

“as computed under paragraphs (2)(D) and (2)(E),” see 42 U.S.C. § 1395l(t)(4)(A); less

applicable deductibles under § 1395l(b), see id. § 1395l(t)(4)(B); and modified by a “payment

proportion,” see id. § 1395l(t)(4)(C). The applicable deductible and “payment proportion” are

fixed by statute and are not relevant to this case, but the Ambulatory Payment Classification fee

schedule amount is. That amount is the product of the conversion factor “computed under

subparagraph [(3)(C)]” and the relative payment weight for the Ambulatory Payment

Classification “determined under paragraph (2)(C).” See id. § 1395l(t)(3)(D). The base

ingredients of an Outpatient Prospective Payment System payment over which CMS has

discretion are, therefore, the Ambulatory Payment Classification groups and relative payment

weights; the conversion factor; and the wage adjustment and other adjustments.




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               The Court recounts these cross-referencing provisions—even the irrelevant

ones—to make one thing clear: nowhere is a “method” developed under paragraph (t)(2)(F)

referenced. CMS cannot shoehorn a “method” into the multi-faceted congressional payment

scheme when Congress’s clear directions lack any such reference. See Util. Air Regulatory Grp.,

573 U.S. at 328. (“We reaffirm the core administrative-law principle that an agency may not

rewrite clear statutory terms to suit its own sense of how the statute should operate.”). As such,

if CMS wishes to reduce Outpatient Prospective Payment System payments for E&M services, it

must make budget-neutral adjustments to either that service’s relative payment weight or to other

adjustments under paragraph (t)(9)(A). Alternatively, CMS may update the conversion factor to

apply across-the-board cuts under paragraph (t)(9)(C). But nothing in the adjustment or payment

scheme permits service-specific, non-budget-neutral cuts.

               CMS apparently understood this limitation when it considered other “methods” in

the past. For example, when the Outpatient Prospective Payment System was first being

developed in 1998, CMS evaluated three possible methods of volume control, all based on the

Sustainable Growth Rate formula which was enacted by Congress to control the growth of

“physician services” under, ironically, the Physician Fee Schedule, which is itself also a

prospective payment system. See 63 Fed. Reg. at 47,586. Much like payment rates for OPD

services under the Outpatient Prospective Payment System, payment rates for physician services

are prospectively set through a combination of relative resource use, regional adjustments, and

an across-the-board Physician Fee Schedule conversion factor. The Sustainable Growth Rate

formula set overall target expenditure levels for physician services based on changes in

enrollment, changes in physician fees, changes in the legal and regulatory landscape, and total

economic growth, and then manipulated the Physician Fee Schedule conversion factor to achieve



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that targeted level. Two of CMS’ proposals in 1998 would have modified the Sustainable

Growth Rate formula to also account for a measure of OPD service efficiency as well, while the

third proposal would have developed a similar, independent formula for the Outpatient

Prospective Payment System. All three proposals would have operated through updates to the

relevant conversion factors under paragraph (t)(9)(C). 8 Id. at 47,586-87. None of these

methods, based upon a conversion factor calculated using a Sustainable Growth Rate formula,

was implemented. See Final Rule at 59,005.

               Instead, CMS considered and implemented a different method of volume control

known as “packaging,” whereby “ancillary services associated with a significant procedure” are

“packaged into a single payment for the procedure.” 72 Fed. Reg. 66,580, 66,610 (Nov. 27,

2007); see also Final Rule at 58,854 (“Because packaging encourages efficiency and is an

essential component of a prospective payment system, packaging . . . has been a fundamental

part of OPPS since its implementation in August 2000.”). Packaging incentivizes providers “to

furnish services in the most efficient way by enabling hospitals to manage their resources with

maximum flexibility, thereby encouraging long-term cost containment.” 72 Fed. Reg. at 66,611;

see also 63 Fed. Reg. at 47,586 (“We believe that greater packaging of these services might

provide volume control.”); 79 Fed. Reg. 66,770, 66,798-99 (Nov. 10, 2014) (introducing

conceptually similar “comprehensive APCs”). Unlike the proposed methods based on a

Sustainable Growth Rate formula that were considered in 1998, packaging does not control


8
  Plaintiffs argue that here CMS acknowledged “possible legislative modification” would be
necessary to implement any method other than adjustment to the conversion factor. See Mem. of
P. & A. in Supp. of Pls.’ Mot. for Summ. J. [Dkt. 14-1] at 15; see also 63 Fed. Reg. at 47,586.
As noted in the text, all three “methods” proposed in 1998 would have adjusted the conversion
factor. Possible legislative modification was discussed because, for two of the proposed
methods, CMS did not itself have the authority to modify the Sustainable Growth Rate, which
Congress implemented by statute. See 42 U.S.C. 1395w-4(f) (1999)).

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volume by changing the conversion factor and thereby obviates the need to rely on paragraph

(t)(9)(C), and packaging is implemented in a budget neutral manner. See, e.g., 72 Fed. Reg. at

66,615 (“Because the OPPS is a budget neutral payment system[,] . . . the effects of the

packaging changes we proposed resulted in changes to scaled weights and . . . to the proposed

payments rates for all separately paid procedures.”); cf. 42 U.S.C. § 1395l(t)(9)(A)-(B).

               This history makes it clear that CMS can adopt volume-control methods under

paragraph (t)(2)(F) which affect payment rates indirectly, even if those methods cannot affect

them directly. Moreover, it demonstrates that the Court’s interpretation does not render

paragraph (t)(2)(F) mere surplusage, since some methods do not depend on manipulation of the

conversion factor.

               Second, Congress provided great detail in directing how CMS should develop and

adjust relative payment weights. For example, Congress required that the initial relative

payment weights for OPD services be rooted in verifiable data and cost reports. Id.

§ 1395l(t)(2)(C). Congress also required CMS to develop a wage adjustment attributable to

geographic labor and labor-related costs, id. § 1395l(t)(2)(D); an outlier adjustment to reimburse

hospitals for particularly expensive patients, id. § 1395l(t)(2)(E) and (t)(5) (detailing further the

outlier adjustment); a transitional pass-through payment scheme for innovative medical devices,

drugs, and biologicals, id. § 1395l(t)(2)(E) and (t)(6) (detailing further the pass-through

adjustment); and catch-all “other adjustments as determined to be necessary to ensure equitable

payments,” id. § 1395l(t)(2)(E). This extraordinarily detailed scheme results in a relative

payment system which ensures that payments for one service are rationally connected to the

payments for another and satisfies specific policies considered by Congress. And so that this

system retains its integrity, CMS is required to review annually the relative payment weights of



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OPD services and their adjustments based on changes in cost data, medical practices and

technology, and other relevant information. See id. § 1395l(t)(9)(A). Further, CMS is required

to consult with “an expert outside advisory panel” to ensure the “clinical integrity of the groups

and weights.” Id.

               Congress also required that adjustments to the Outpatient Prospective Payment

System be made in a budget-neutral fashion (with specified exceptions). Congress itself set the

first conversion factor so that the estimated expenditures for the first year of payments under the

Outpatient Prospective Payment System would match estimated expenditures for the same year

under the previous system. Id. § 1395l(t)(3)(C)(i). Congress further specified that the wage

adjustment, outlier adjustment, pass-through adjustment, and the “other adjustments” all be

budget neutral. Id. § 1395l(t)(2)(D)-(E). And Congress directed CMS to make any changes to

the groups, their relative payment weights, or the adjustments resulting from its mandatory

annual review in a budget-neutral fashion. Id. § 1395l(t)(9)(B).

               Notwithstanding this granularity in the statute, CMS posits that in a single

sentence Congress granted it parallel authority to set payment rates in its discretion that are

neither relative nor budget neutral. Cf. id. § 1395l(t)(2)(F). But “Congress . . . does not alter the

fundamental details of a regulatory scheme in vague terms or ancillary provisions—it does not,

one might say, hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457,

468 (2001); cf. Air Alliance Houston v. EPA, 906 F.3d 1049, 1061 (D.C. Cir. 2018) (“[I]t is well

established that an agency may not circumvent specific statutory limits on its actions by relying

on separate, general rulemaking authority.”). If CMS reads the statute correctly, its new-found

authority would supersede Congress’ carefully crafted relative payment system by severing the

connection between a service’s payment rate and its relative resource use. In the context of the



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similarly-designed Physician Fee Schedule system, Congress expressly denounced this

disconnect. See H.R. Rep. No. 105-149, at 1347-48 (1997) (“As a result, relative value units

have become seriously distorted. This distortion violates the basic principle underlying the

resource-based relative value scale (RBRVS), namely that each services [sic] should be paid the

same amount regardless of the patient or service to which it is attached.”). Further, the structure

of the Outpatient Prospective Payment System makes clear that Congress intended to preserve

“the clinical integrity of the groups and weights.” 42 U.S.C. § 1395l(t)(9)(A). There is no

reason to think that Congress with one hand granted CMS the authority to upend such a “basic

principle” of the Outpatient Prospective Payment System while working with the other to

preserve it. 9

                 The government also argues that Congress knew how to require budget neutrality

when it wanted to, and that its silence in the context of paragraph (t)(2)(F) is telling. Not only

does this argument fail to address damage to the integrity of the relative payment system, but in

the context of the Outpatient Prospective Payment System, the reverse is also true: for decisions

within CMS’ discretion that might affect overall expenditures, Congress made clear when budget

neutrality was not required. See id. § 1395l(t)(7)(I) (exempting transitional payments from

budget neutrality); id. § 1395l(t)(16)(D)(iii) (exempting special payments from budget

neutrality); id. § 1395l(t)(20) (exempting the effects of certain incentives from budget

neutrality); cf. id. § 1395l(t)(3)(C) (permitting negative conversion factors); id. § 1395l(t)(14)(H)

(exempting specific expenditure increases from consideration under paragraph (t)(9)). As CMS



9
  CMS’ interpretation would also swallow paragraph (t)(9)(C) in its entirety: why would the
agency go through the annual hassle of updating the conversion factor if it could use paragraph
(t)(2)(F) to decrease or increase payment rates for disfavored or favored services whenever
desired?

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has said, “the OPPS is a budget neutral payment system.” 72 Fed. Reg. at 66,615. Given how

pervasively the statute requires budget neutrality in the Outpatient Prospective Payment System,

Congress clearly considered effects on total expenditures critical to that system. Yet Congress

did not mention the budgetary impact of paragraph (t)(2)(F) at all. The Court concludes that no

such reference was made because Congress did not intend CMS to use an untethered “method”

to directly alter expenditures independent of other processes. To the contrary, Congress directed

that any “methods” developed under paragraph (t)(2)(F) be implemented through other

provisions of the statute. 10

                Finally, the government argues that there is no reason Congress would have

wanted CMS to penalize all outpatient departments in order to control unnecessary increases in

the volume of a single type of service. Of course, that is exactly what Congress did when it

applied the Sustainable Growth Rate formula to the Physician Fee Schedule under the Balanced

Budget Act of 1997—the same Act which created the Outpatient Prospective Payment System—

to disastrous results. See Jim Hahn & Janemarie Mulvey, Congressional Research Service,

Medicare Physician Payment Updates and the Sustainable Growth Rate (SGR) System 8 (2012)

(“There is a growing consensus among observers that the SGR system is fundamentally flawed

and is creating instability in the Medicare program for providers and beneficiaries.”); id. (“One

commonly asserted criticism is that the SGR system treats all services and physicians equally . . .

to the detriment of physicians who are ‘unduly’ penalized.”). Congress recognized its error and



10
  Paragraph (t)(9)(C) explicitly provides that methods developed under paragraph (t)(2)(F) may
result in adjustments to the conversion factor because subsection (t)(3), governing the conversion
factor, does not already provide CMS such authority. Cf. 42 U.S.C. § 1395l(t)(9)(A) (requiring
CMS to review and adjust groups and relative payments weights and adjustments for OPD
services). Put another way, the provision is permissive, not mandatory, because CMS may
choose to implement its methods through other means.

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repealed the Sustainable Growth Rate formula, see Medicare Access and CHIP Reauthorization

Act of 2015, Pub. L. No. 114-10, 129 Stat. 87, and it has demonstrated that it retains for itself the

authority to make these and similarly selective funding decisions in this highly complicated

intersection of patient needs, medical care, and government funding through the relative payment

weight system. See, e.g., Bipartisan Budget Act § 603 (establishing different payment schemes

for excepted and non-excepted PBDs). Here, Congress has developed a multi-factored,

complicated annual process whereby CMS is to pre-set relative payments for OPD services.

This annual process would be totally ignored and circumvented if CMS could unilaterally set

OPD service-specific rates without regard to their relative position or budget neutrality.

               For these reasons, the Court finds that the “method” developed by CMS to cut

costs is impermissible and violates its obligations under the statute. While the intention of CMS

is clear, it would acquire unilateral authority to pick and choose what to pay for OPD services,

which clearly was not Congress’ intention. The Court find that the Final Rule is ultra vires. 11

           C. Remedies

               A brief note on remedies. Plaintiffs not only ask for vacatur of the Final Rule, but

also for a court order requiring CMS to issue payments improperly withheld due to the Final

Rule. Plaintiffs’ request will be denied. “‘Under settled principles of administrative law, when a

court reviewing agency action determines that an agency made an error of law, the court’s

inquiry is at an end: the case must be remanded to the agency for further action consistent with

the correct legal standards.’” Palisades Gen. Hosp. Inc. v. Leavitt, 426 F.3d 400 (D.C. Cir.

2005) (quoting Cnty. of L.A. v. Shalala, 192 F.3d 1005, 1011 (D.C. Cir. 1999)). That said,



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  Because the Court concludes that service-specific unilateral price setting by CMS is not a
“method” within the meaning of the statute, the Court does not reach Plaintiffs’ other arguments.

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Outpatient Prospective Payment System reimbursements are complex and a third set of plaintiffs

in another case challenging the same rule has raised the spectre of complications resulting from

an order to vacate. See Opposition to Defendant’s Motion to Stay Proceedings, Sisters of

Charity Hospital of Buffalo, New York v. Azar, No. 19-1446 (RMC) (July 25, 2019) Dkt. 13.

Other courts in this district have wrestled with the ripple effects of vacatur caused by Medicare

budget neutrality provisions and interest payments. See Am. Hosp. Ass’n, 348 F. Supp. 3d at 85-

86 (requiring further briefing on remedies related to OPPS adjustments); Shands Jacksonville

Med. Ctr., Inc. v. Azar, 2019 WL 1228061, at *2 (D.D.C. Mar. 15, 2019) (addressing plaintiff-

specific interest payments on improper reimbursement determinations); see also Amgen, 357

F.3d at 112 (“Other circuits have noted the havoc piecemeal review of OPPS payments could

bring about.”). The Final Rule is less than one year old and did not apply budget neutrality

principles. These factors should lessen the burden on reconsideration. Nonetheless, the Court

will require a joint status report to determine if additional briefing is appropriate.

                                     IV.    CONCLUSION

               CMS believes it is paying millions of taxpayer dollars for patient services in

hospital outpatient departments that could be provided at less expense in physician offices. CMS

may be correct. But CMS was not authorized to ignore the statutory process for setting payment

rates in the Outpatient Prospective Payment System and to lower payments only for certain

services performed by certain providers. Plaintiffs’ Motion for Summary Judgment, Dkt. 14,

will be granted. The government’s Cross-Motion for Summary Judgment, Dkt. 20, will be

denied. The Court will vacate the applicable portions of the Final Rule and remand the matter

for further proceedings consistent with this Memorandum Opinion. The parties will be required

to submit a joint status report by October 1, 2019, to determine if additional briefing on remedies



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is required, along with the CMS estimate as to the duration of further proceedings. A

memorializing Order accompanies this Memorandum Opinion.



Date: September 17, 2019
                                                           ROSEMARY M. COLLYER
                                                           United States District Judge




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                           ORDER

              For the reasons articulated in the Memorandum Opinion issued

contemporaneously with this Order, it is hereby

              ORDERED that Plaintiffs’ Motion for Summary Judgment, Dkt. 14, is

GRANTED; and it is

              FURTHER ORDERED that the Secretary’s Cross-Motion for Summary

Judgment, Dkt. 20, is DENIED; and it is

              FUTHER ORDERED that the Secretary’s Method to Control for Unnecessary

Increases in the Volume of Outpatient Services, 83 Fed. Reg. 58,818, 59,004-15 (Nov. 21, 2018)

(Section X.B), is VACATED and this matter REMANDED to the Secretary for further

proceedings consistent with the Memorandum Opinion; and it is




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               FURTHER ORDERED that the parties shall submit a joint status report by no

later than October 1, 2019, discussing whether additional briefing regarding remedies is

necessary.




Date: September 17, 2019
                                                            ROSEMARY M. COLLYER
                                                            United States District Judge




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                  MEMORANDUM OPINION

               Previously, the Court held that the Centers for Medicare & Medicaid Services

(CMS) exceeded its statutory authority when it selectively reduced by Final Rule reimbursement

rates under the Outpatient Prospective Payment System (OPPS) to off-campus provider-based

departments for certain outpatient department (OPD) services. See Am. Hosp. Ass’n v. Azar, No.

18-2841, 2019 WL 4451984 (D.D.C. Sept. 17, 2019); 83 Fed. Reg. 58,818 (Nov. 21, 2018)

(Final Rule). Specifically, the Court determined that the addition of a non-budget-neutral rate

reduction for Evaluation and Management (E&M) services at such facilities—separate from the

normal OPPS reimbursement schedule—conflicted with the overall statute. Am. Hosp. Ass’n,

2019 WL 4451984, at *8-12. Accordingly, the Court vacated the relevant portions of the Final

Rule, left intact the rest of the OPPS reimbursement schedule, and remanded the matter back to

the agency for proceedings consistent with its decision. Id. at *12. However, given the

complexities of setting and administering Medicare payments rates, the Court also ordered the

parties to submit a status report to determine if additional briefing was required. Id.



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               CMS now asks the Court to modify its Order and to instead remand the matter to

the agency to develop a remedy in the first instance, without vacatur. Alternatively, CMS asks

for a 60-day stay of the Order while it considers whether or not to appeal. Plaintiffs oppose. 1

For the reasons below, the Court will neither modify nor stay the Order.

                                        I.   ANALYSIS

           A. Vacatur

               The D.C. Circuit has “made clear that ‘[w]hen a reviewing court determines that

agency regulations are unlawful, the ordinary result is that the rules are vacated.’” Nat’l Min.

Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (quoting Harmon v.

Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir. 1989)). That said, a court has discretion to

remand an unlawful rule without vacatur depending on (1) “the seriousness of the [rule]’s

deficiencies (and thus the extent of doubt whether the agency chose correctly)” and (2) “the

disruptive consequences of an interim change that may itself be changed.” Allied-Signal, Inc. v.

U.S. Nuclear-Regulatory Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993). Neither factor is

dispositive. “Rather, resolution of the question turns on the Court’s assessment of the overall

equities and practicality of the alternatives.” Shands Jacksonville Med. Ctr. v. Burwell, 139 F.

Supp. 3d 240, 270 (D.D.C. 2015) (Shands I).

               As to the first factor, CMS “respectfully disagrees” with the Court’s decision and

maintains that its rate cut was a permissible “method for controlling unnecessary increases in the

volume of covered OPD services.” See 42 U.S.C. § 1395l(t)(2)(F). CMS thus argues that there

is a live question regarding “whether the agency chose correctly” that may be resolved on appeal.


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  See 9/17/2019 Order [Dkt. 32]; Mot. to Modify Order (Mot.) [Dkt. 33]; Pls.’ Opp’n to Def.’s
Mot. to Modify Order [Dkt. 34]; Mem. of the Univ. of Kansas Hosp. Auth. Pls. in Opp’n to Mot.
to Modify [Dkt. 35]; Reply in Supp. of Mot. to Modify Order (Reply) [Dkt. 37].

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CMS devotes little space to this argument. This factor may weigh in the government’s favor

when a decision within the agency’s discretion was potentially lawful but insufficiently

explained. See Heartland Reg’l Ctr. v. Sebelius, 566 F.3d 193, 198 (D.C. Cir. 2009) (“When an

agency may be able readily to cure a defect in its explanation of a decision, the first factor in

Allied-Signal counsels remand without vacatur.”); see, e.g., Allied Signal, 988 F.2d at 151 (“It is

conceivable that the Commission may be able to explain how the principles supporting an

exemption for education institutions do not justify a similar exemption for domestic UF 6

converters.”); cf. Am. Hosp. Ass’n v. Azar, 385 F. Supp. 3d 1, 13 (D.D.C. 2019) (finding a CMS

rule could not be justified because the necessary data did not exist). But here the Court

determined that CMS put forth an impermissible interpretation of the statutory scheme; no

amount of new data or reasoning on remand can save its interpretation. See Humane Soc’y of the

U.S. v. Jewell, 76 F. Supp. 3d 69, 137 (D.D.C. 2014) (“[T]he Court is certain that the agency

cannot arrive at the same conclusions reached in the Final Rule because the actions taken were

not statutorily authorized.”). Nor does its hope of reversal on appeal help because “[p]ossible

success on appeal would weigh against vacatur in every case, given that reversal is always a

possibility.” Am. Hosp. Ass’n, 385 F. Supp. 3d at 13. The first factor clearly favors vacatur.

               As to the second factor, CMS argues more forcefully that for several reasons the

disruption caused by vacating the rule weighs heavily in favor of remand only. First, CMS

contends that without the rule “there is currently no extant methodology under which the

Secretary may pay off-campus provider-based departments for the . . . services that the

challenged portion of the Rule addressed.” Mot. at 5. CMS similarly contends that “there is no

methodology available for affected off-campus provider-based departments to calculate

appropriate patient co-payments.” Id.



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               These contentions fail to convince. Because CMS believed that it had authority to

implement the E&M rate reduction independent of its authority to review and adjust OPPS

relative payment weights, it developed underlying OPPS reimbursement rates and then tacked

the E&M rate reduction on at the end. See Final Rule at 59,014 (applying the reduced E&M

rates to the “final payment rates” for OPPS). As Plaintiffs describe it, CMS created an exception

to OPPS reimbursement rates for only E&M services and only at applicable off-campus

provider-based departments; vacating the rate reduction for E&M services at off-campus

provider-based departments merely reverted such off-campus provider-based departments to the

general rule. Indeed, CMS admits that there are extant OPPS reimbursement rates for on-campus

provider-based departments which the relevant off-campus provider-based departments would

have been subject to but for the Final Rule.2 See Mot. at 6.

               Anticipating this, CMS argues that vacatur leaves behind no OPPS reimbursement

rates because the rate reduction for E&M services “cannot be severed from the rest of the OPPS

rates set forth in the [Final] Rule.” Id. at 5. The D.C. Circuit has held that “[s]everance and

affirmance of a portion of an administrative regulation is improper if there is ‘substantial doubt’

that the agency would have adopted the severed portion on its own.” Davis Cty. Solid Waste

Mgmt. v. EPA, 108 F.3d 1454, 1459 (D.C. Cir 1997). CMS asserts that it accounted for its

projected $300 million in projected savings when developing the underlying OPPS




2
  CMS argues that payments to off-campus provider-based departments for E&M services would
not revert to the general rule because such services have been carved out and reduced. See Reply
at 3. Only the challenged rate reduction carved E&M services out of the general rule; all other
patient services at off-campus provider-based departments continue to be paid at OPPS rates.
The rate reduction was vacated as beyond the authority of CMS; therefore, such selected services
are no longer carved out and should be paid according to the general rule.

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reimbursement rates, and that without the rate reduction for E&M services it might have utilized

other statutory means to accomplish the same ends or cut reimbursement rates across the board.

               There is not nearly enough evidence to find “‘substantial doubt’ that the agency

would have adopted the severed portion on its own.” Id. To start, that the rate reduction for

E&M services can be so easily severed from the Final Rule as a practical matter strongly

suggests that severance is appropriate as a legal matter. See Am. Petroleum Inst. v. EPA, 862

F.3d 50, 72 (D.C. Cir. 2017) (“Thus we have severed provisions when ‘they operate[d] entirely

independently of one another.’”) (quoting Davis Cty., 108 F.3d at 1459). That is, unlike other

cases, the underlying OPPS reimbursement rates here were not “expressly conditioned” on rate

reduction for E&M services. North Carolina v. FERC, 730 F.2d 790, 796 (D.C. Cir. 1984).

Further, this is not a case where the remaining rule starts to lose meaning without the severed

portion. See MD/DC/DE Broadcasters Ass’n v. FCC, 253 F.3d 732, 740 (D.C. Cir. 2001)

(examining “whether a statute’s function would be impaired if, after invaliding a portion of an

implementing regulation, the Court left the rest of the regulation in place”). Indeed, there is no

evidence at all that CMS considered the underlying OPPS reimbursement scheme when it

decided to reduce rates for E&M services at off-campus provider-based departments, other than

to note that the OPPS reimbursement rates were higher than comparable rates at physician

offices. Rather, the reduced rate for E&M services “operate[d] entirely independently” of the

underlying OPPS reimbursement scheme and was “not in any way ‘intertwined’” with CMS’s

obligation to review and set those underlying OPPS reimbursement rates. Davis Cty., 108 F.3d

at 1459 (quoting Tel. & Data Sys., Inc. v. FCC, 19 F.3d 42, 50 (D.C. Cir. 1994)). In fact, that

independence was CMS’s explanation for why budget neutrality did not apply. See Def.’s Opp’n

to Pls.’ Mot. for Summ. J. & Mem. in Supp. of Mot. to Dismiss or, in the Alternative, Cross-



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Mot. for Summ. J. [Dkt. 20-1] at 14-15. Regardless of what CMS hypothetically might have

done, nothing in the Final Rule implies that the E&M rate reduction and underlying OPPS

reimbursement rates were intended to be inseparable.

               The Court further notes that the only material difference between the Proposed

Rule and the Final Rule is that CMS chose to implement the rate reduction for E&M services

over two years instead of one. Compare 83 Fed. Reg. 37,046, 37,143 (July 31, 2018) (Proposed

Rule), with Final Rule at 59,013-14. CMS thus projected it would save only $300 million due to

the Final Rule, or half of the $600 million originally projected. See Final Rule at 59,014. Yet

CMS did not change the underlying OPPS reimbursement rates in the Final Rule to account for

the $300 million shortfall caused by phased implementation. CMS does not explain why the

$300 million shortfall caused by vacatur should be treated differently. CMS’s silence in the

Final Rule indicates that it would have implemented the underlying OPPS reimbursement rates

even without a rate reduction for E&M services and also favors vacatur. Cf. North Carolina, 730

F.2d at 796 (severing a regulation despite resulting “nominal effects”).

               Second, CMS argues that vacating the Final Rule would prove disruptive if CMS

were to succeed on appeal because, as a practical matter, it would be difficult for CMS to claw

back any overpayments due to the administrative costs of doing so. See Mot. at 6. However, if

CMS were to lose on appeal, this disruption would not come to pass. That may seem obvious,

but the point is that CMS’s argument has nothing to do with the appropriateness of vacatur in

this case, only its timing; CMS’s argument better supports its request for a stay pending appeal

and is addressed below.3



3
 Although the D.C. Circuit has noted “the havoc that piecemeal review of OPPS payments could
bring about,” Amgen, Inc. v. Smith, 357 F.3d 103, 112 (D.C. Cir. 2004), that havoc is born of the


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               Finally, CMS argues that the Court should grant CMS the opportunity to develop

a remedy in the first instance, in recognition of the “substantial deference that Courts owe to the

Secretary in the administration of such a ‘complex statutory and regulatory regime.’” Shands

Jacksonville Med. Ctr., Inc. v. Azar, 366 F. Supp. 3d 32, 54 (D.D.C. 2018) (quoting Good

Samartian Hosp. v. Shalala, 508 U.S. 402, 404 (1993)); see also N. Air Cargo v. U.S. Postal

Serv., 674 F.3d 852, 861 (D.C. Cir. 2012). But in each of the cases cited by CMS, deference was

not an independent reason to remand without vacatur. Rather, remand without vacatur was

found appropriate only after application of the Allied-Signal factors. See N. Air Cargo, 674 F.3d

at 860-61; Am. Hosp. Ass’n, 385 F. Supp. 3d at 12-15; Shands I, 139 F. Supp. at 269-70. For the

reasons above, those factors do not favor CMS here.

           B. Stay of the Order

               District courts generally have the authority to stay their orders pending appeal.

See Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Fed. R. Civ. P. 62(c). But in determining

whether to grant a stay, courts consider four factors: “(1) whether the stay applicant has made a

strong showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the

other parties interested in the proceeding; and (4) where the public interest lies.” Hilton, 481

U.S. at 776. At most, CMS has only hinted at irreparable harm. But cf. Tataranowicz v.

Sullivan, No. 90-0935, 1991 WL 57005, at *1 (D.D.C. Feb. 26, 1991) (finding disbursement of




prospective and budget neutral elements of the statutory scheme, neither of which is implicated
here. Vacating the select rate reduction does not directly affect the broader reimbursement
scheme. Cf. Am. Hosp. Ass’n, 385 F. Supp. 3d at 12-15 (declining to vacate an ultra vires budget
neutral rule).

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Medicare payments and administrative costs of recoupment are not irreparable harm). It has

completely ignored the other factors. Without more, CMS has not satisfied its burden.

                                    II.   CONCLUSION

              The ultra vires consequences of the Final Rule are not so complex that they

cannot be directly redressed or undone. Vacatur and remand are the correct remedies and CMS

has not established that a stay is appropriate at this time. The government’s Motion to Modify

Order, Dkt. 33, will be denied. The Court will enter final judgment. A memorializing Order

accompanies this Memorandum Opinion.



Date: October 21, 2019
                                                           ROSEMARY M. COLLYER
                                                           United States District Judge




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                            ORDER

               For the reasons in the Memorandum Opinion issued contemporaneously with this

Order, it is hereby

               ORDERED that Defendant’s Motion to Modify Order, Dkt. 33, is DENIED.

               This is a final appealable Order. See Fed. R. App. P. 4. This case is closed.



Date: October 21, 2019
                                                            ROSEMARY M. COLLYER
                                                            United States District Judge




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